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                            UNITED STATES DISTRICT COURT                             riULU
                                              For the
                                   Eastern District of Virginia
                                      Alexandria Division                                   ,_   „   , ,
                                                                                im jul -2 p 2-11

                                                 |
  v.                                             )   Civil Action No.: i:

  TARGET CORPORATION                             )
  dba Target Stores, Inc.,                       )
  SERVE: CT Corp., Registered Agent              )
            4701 Cox Road                        )
            Glen Allen, VA 23060-6802            )
       Defendant                                 )


                                          COMPLAINT


          COMES NOW the undersigned Plaintiff, Daphne Borda, by Counsel, and hereby

  submits this, her Complaint against the Defendant, Target Corporation, and in support

  thereof, the Plaintiff states as follows:

  1.      The Plaintiff is a citizen of Virginia. The Defendant Target Corporation

  (hereinafter "Target"), is a Corporation incorporated under the laws of the State of

  Minnesota with its principal place of business in Minnesota. The amount in controversy,

  without interest and costs, exceeds the sum or value specified by 28 U.S.C. § 1332.

 2       Target owns approximately 1,500 retail stores in 47 states including

  approximately 43 retail stores through out the Commonwealth of Virginia, including one

 which is located at, or about, 6100 Arlington Boulevard, Falls Church, VA 22044 (

 hereinafter "the Store"), where the incident described herein occurred.

 3.      On or about August 7,2005, at approximately 2:45 PM, the Plaintiff, Daphne

 Borda, an adult resident of Virginia, was shopping in the Store with her daughter and

 granddaughter. As such, the Plaintiff was an invitee of Target, lawfully on the premises
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  for the purpose of doing business with Target.

  4.      At that same time and place, two employees of Target, acting in the scope of their

  employment with Target, were moving a platform cart which was loaded with cases of

  bottled water, through the aisles of the store.

  5.      Suddenly and without warning to the Plaintiff, the Target employees caused the

  cart to collide with the Plaintiff with great force and violence, impelling the Plaintiff to

  strike the adjacent metal shelves, also with great force and violence.

  6.      When the employees realized what they had done, the one pushing the cart backed

  it up and then caused it to collide into the Plaintiff again, once more crushing her against

  the shelving.


  7.     Target and its agents and employees, had a duty to use ordinary care to prevent

  injuries to their customers.

  8.     Target was negligent and breached its duty to the Plaintiff in that Target's agents

 and employees:

         (a)       Failed to pay full time and attention while moving the heavily loaded

               platform cart in the store.

         (b)       Failed to keep a proper lookout;

         (c)       Failed to keep the platform cart under proper control while moving it

               through out the store;

         (d)      Failed to operate the cart in a proper manner under the conditions then and

               there prevailing.

         (e)      Loaded the platform cart, in such a manner that it presented a danger to

               others when moved through the Stores; and
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          (f)     Failed to give the Plaintiff timely and adequate warning.

  9.      As a direct and proximate result of the aforesaid collisions, the Plaintiff Daphne

  Borda, sustained severe and permanent injuries, both physical and mental, including but

  not limited to: injury to her chest and spinal column which has necessitated surgery to

  repair and/ or fuse several vertebrae; she has been prevented from transacting her

  business; has suffered and will continue to suffer great pain and suffering of body and

  mind; has sustained permanent disability, deformity and loss of earning capacity; has

  incurred and will incur in the future hospital, doctors' and related bills in an effort to be

  cured of said injuries.


  10.     Pursuant to Rule 38(b), Plaintiff demands Trial by Jury.

         THEREFORE, the Plaintiff demands judgment against the Defendant Target

  Corporation, in the sum of Ten Million Dollars, plus interest from the date of the

 incident, and her costs expended in this action.


 Date:   July 2.2009
                                         Daphne Borda,
                                         Plaintiff, byJSownsel




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